             Case 3:18-cr-04368-DMS Document 48 Filed 10/21/20 PageID.82 Page 1 of 2
AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations


                                      UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                                 V.                                   (For Offenses Committed On or After November 1, 1987)

             HECTOR MANUEL M!]NOZ-RUIZ                                   Case Number:        18CR4368-DMS

                                                                      Gerardo Gonzalez CJA
                                                                      Defendant's Attorney
REGISTRATION NO.                 57708180
•-
THE DEFENDANT:
1251   admitted guilt to violation ofallegation(s) No.       1

D      was found guilty in violation ofallegation(s) No.
                                                           -------------- after denial of guilty.
Accordingly, the court has a(\judicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation

                1                     Committed a federal, state or local offense




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentench\g Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.




                                                                      HON. Dana          . Sabraw
                                                                      UNITED STATES DISTRICT JUDGE
           Case 3:18-cr-04368-DMS Document 48 Filed 10/21/20 PageID.83 Page 2 of 2
AO 245D (CASO Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                HECTOR MANUEL MUNOZ-RUIZ                                                 Judgment - Page 2 of 2
CASE NUMBER:              18CR4368-DMS

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 EIGHT (8) MONTHS concurrent to 19cr4971-DMS.




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       • - --------- AM.                                      on
                                                                   ------------------
       • as notified by the United States Marshal.
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      18CR4368-DMS
